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UNITED STATES DISTRICT COURT cy EN caf

 

 

 

 

SOUTHERN DISTRICT OF NEWYORK 7 2
A Plaintifi(s), CALENDAR NOTICE

v 1468 kL 08)

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Defendani(s).
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E TAKE NOTICE that the above-captioned case has been sehedtted/

V status conference C “‘p \ ea.) ____ Final pretrial conference
____ Telephone conference ____ Jury selection and trial
___ Pre-motion conference ___ Bench trial
___ Settlement conference ____ Suppression hearing
___ Oral argument ___ Plea hearing
____ Bench ruling on motion ____ Sentencing

on Z/ - 2/-~202 /, at Ss 30 Len Courtroom 620, United States
Courthouse, 300 Quarropas Street, White Plains, NY 10601. Adjourned from Zt S72 |

All requests for adjournments or extensions of time must be in writing and
filed on ECF as letter-motions, in accordance with paragraph 1(F) of the Court's
Individual Practices. Absent special circumstances, such requests shall be made at
least two business days prior to the scheduled appearance.

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SO ORRERED: (ty
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White Plains, NY
Vincent L. a
United States District Judge

 

 
